Case
Case5:24-cv-00717-OLG-HJB
     5:24-cv-00717-OLG-HJB   Document
                             Document82-10
                                      95-7   Filed
                                             Filed05/08/25
                                                   04/15/25   Page
                                                              Page11of
                                                                     of22




                     Exhibit J
              Case
              Case5:24-cv-00717-OLG-HJB
                   5:24-cv-00717-OLG-HJB          Document
                                                  Document82-10
                                                           95-7      Filed
                                                                     Filed05/08/25
                                                                           04/15/25       Page
                                                                                          Page22of
                                                                                                 of22




                          "type": "message",
                          "timestamp": "2023-01-06T07:02:41.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "idgaf about that"
                              }
                          ]
                     },
                     {
                          "id": "d186d653-9e62-41a6-95e6-925bb8faabaf",

                          "type": "message",
                          "timestamp": "2023-01-06T07:02:43.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "It\u2019s very very hard to do here"
                              }
                          ]
                     },
                     {
                          "id": "861742d8-a65d-4212-9679-14d8960ede0c",

                          "type": "message",
                          "timestamp": "2023-01-06T07:02:46.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "I want people who wronged me to suffer"
                              }
                          ]
                     },
                     {
                          "id": "faa8e675-2d87-4ad4-a5d5-6ed0485b096a",

                          "type": "message",
                          "timestamp": "2023-01-06T07:02:56.000",
                          "deleted": false,
                          "blocks": [
                              {
                                  "text": "while I continue getting wins on their grave"
                              }
                          ]
                     },
                     {
                          "id": "43e0b5e0-56f0-4638-ac61-375af96018e8",

                          "type": "message",
                          "timestamp": "2023-01-06T07:03:12.000",
                          "deleted": false,
                          "blocks": [
                              {




CONFIDENTIAL This "CONFIDENTIAL" designation has been voluntarily removed by Plaintiff.           PAUL_CZ00008510
